     Case 2:21-cv-06899-PA-AGR Document 61 Filed 03/26/22 Page 1 of 5 Page ID #:912

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                         CIVIL MINUTES - GENERAL
     Case No.      ED CV 21-1597 PA (AGRx); LA CV 21-6899 PA (AGRx)             Date    March 26, 2022
     Title         Hideyuki Kimura v. Federal Aviation Administration; Hideyuki Kimura v. Lisa Toscano,
                   et al.



     Present: The Honorable      PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
             Kamilla Sali-Suleyman                         Not Reported                         N/A
                 Deputy Clerk                             Court Reporter                      Tape No.
                Attorneys Present for Plaintiff:                    Attorneys Present for Defendants:
                             None                                                None
     Proceedings:             IN CHAMBERS — COURT ORDER

       Before the Court is a Motion to Dismiss Under Fed. R. Civ. P. 12(b)(1), or in the
Alternative, for Summary Judgment (“Motion”) filed by defendant United States of America
(“United States”). (Docket No. 45, Kimura v. FAA, 5:21-cv-1597-PA-AGR.) Pursuant to Rule
78 of the Federal Rules of Civil Procedure and Local Rule 7-15, the Court finds that this matter
is appropriate for decision without oral argument.

       On August 27, 2021, Plaintiff Hideyuki Kimura (“Plaintiff”), who is proceeding pro se,
filed an initial complaint against Lisa Toscano, Adam Runkel, and Anthony Wood (the “Officer
Defendants”). See Hideyuki Kimura v. Lisa Toscano et al., 2:21-cv-6899-PA-AGR. On
October 18, 2021, Plaintiff filed a second, duplicative complaint against the Federal Aviation
Administration (“FAA”). See Hideyuki Kimura v. FAA, 5:21-cv-1597-PA-AGR. Plaintiff
alleges that the FAA and Officer Defendants, acting in retaliation for Plaintiff’s authorship of a
book criticizing the FAA, altered evidence and falsified records related to two flights that
Plaintiff piloted in January 2016. As a result of those incidents, the FAA suspended Plaintiff’s
commercial pilot certificate on April 11, 2017. Plaintiff alleges to have sent over a thousand
emails to the FAA staff regarding the certificate suspension, but since December 2018 has not
received any response. Plaintiff also alleges he appealed the suspension before an administrative
law judge, who ultimately dismissed the appeal.

       Plaintiff enlisted the aid of an attorney in pursuing potential claims and, on December 20,
2020, sent an SF-951/ to the FAA. The attorney apparently took no further action, so Plaintiff
elected to initiate suit against the FAA and Officer Defendants without counsel. Plaintiff asserts
a laundry list of claims: “Code of Federal Resulations [sic] Title 14 Aeronautics and Space[,]
U.S. Department of Transportation Federal Aviation Administaratrion [sic] Order JO


1/
        An SF-95 is a Standard Form 95, used for making a formal claim for damage, injury, or death
against a federal agency.
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 5
     Case 2:21-cv-06899-PA-AGR Document 61 Filed 03/26/22 Page 2 of 5 Page ID #:913

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES - GENERAL
     Case No.   ED CV 21-1597 PA (AGRx); LA CV 21-6899 PA (AGRx)           Date    March 26, 2022
     Title      Hideyuki Kimura v. Federal Aviation Administration; Hideyuki Kimura v. Lisa Toscano,
                et al.

7110.65Y[,] Civil code: Infringment [sic], Defamation, Libel, Racism, Discrimination, Prejudice
against national origin[,] Criminal cade [sic] : Tamparing [sic] restricted data, Mischeif [sic],
Misconduct, Negligence, Hiding, [and] Conspiracy.” (Docket No. 2, Kimura v. FAA, 5:21-cv-
1597-PA-AGR.) Plaintiff seeks relief in the form of an admission of guilt, the return of his
certificate, recovery of his honor, and compensatory damages. By his calculations, Plaintiff is
entitled to three separate compensatory damage awards of $4.5 billion, $94.5 million, and $3.8
million.

       The United States, moving as the real party in interest, seeks dismissal or summary
judgment of both of Plaintiff’s actions2/ for lack of subject matter jurisdiction and for failure to
timely file a claim. The Federal Tort Claims Act (“FTCA”), only waives the government’s
sovereign immunity for a suit against the United States and provides that the federal district
courts have exclusive jurisdiction over suits against the United States. See 28 U.S.C.
§ 1346(b)(1); Will v. United States, 60 F.3d 656, 659 (9th Cir. 1995). If a suit is cognizable
under § 1346(b) of the FTCA, the FTCA remedy is exclusive, and the federal agency and
government employees cannot be sued in their own name. F.D.I.C. v. Meyer, 510 U.S. 471, 476,
114 S. Ct. 996, 1000-01, 127 L. Ed. 2d 308 (1994); Will, 60 F.3d at 659. The United States
asserts that it is the only proper defendant under the FTCA and thus seeks dismissal for the
wrongly named defendants. The United States also argues dismissal without leave to amend is
appropriate because even if Plaintiff correctly names the United States, the FTCA bars tort
claims against the United States unless they are presented in writing within two years of accrual.
See 28 U.S.C. § 2401(b); United States v. Kubrick, 444 U.S. 111, 113, 100 S. Ct. 352, 355, 62 L.
Ed. 2d 259 (1979). According to the United States, Plaintiff’s claim accrued in either 2016
when the flight incidents occurred or 2017 when the FAA issued the Emergency Order
suspending Plaintiff’s commercial pilot certificate, making Plaintiff’s December 2020 written
claim untimely.

        Plaintiff filed several oppositions to the United States’ Motion, some before it was even
filed, bifurcating responses to the United States’ request in the alternative for dismissal or
summary judgment. (See Docket Nos. 19, 20, 47, 54, Kimura v. FAA, 5:21-cv-1597-PA-AGR.)
Plaintiff also filed an Opposition to the United States’ Reply brief. (See Docket No. 58, Kimura
v. FAA, 5:21-cv-1597-PA-AGR.) These filings, which violate the Local Rules and this Court’s
Standing Order, come as no surprise to the Court. Plaintiff has established a pattern of
repeatedly filing and seeking to file documents in contravention of the rules, despite Court

2/
        While the United States did not file its Motion on the docket in Kimura v. Toscano, 21-cv-6899-
PA-AGR, the United States specifically requests dismissal of both actions and Plaintiff filed oppositions
in both cases, recognizing that the Government seeks dismissal of both actions.
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                 Page 2 of 5
     Case 2:21-cv-06899-PA-AGR Document 61 Filed 03/26/22 Page 3 of 5 Page ID #:914

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES - GENERAL
     Case No.   ED CV 21-1597 PA (AGRx); LA CV 21-6899 PA (AGRx)              Date    March 26, 2022
     Title      Hideyuki Kimura v. Federal Aviation Administration; Hideyuki Kimura v. Lisa Toscano,
                et al.

warnings that the filings may result in the imposition sanctions, including dismissal. (See
Docket Nos. 10, 19, Kimura v. Toscano, 2:21-cv-6899-PA-AGR.) Plaintiff has also failed to
properly effect service in Kimura v. Toscano, 2:21-cv-6899-PA-AGR, despite the Court
providing additional time. And on February 3, 2022, the Court issued a Minute Order
recognizing the duplicative nature of Plaintiff’s cases and requiring Plaintiff to dismiss one of
the actions by February 25, 2022. (See Docket No. 29, Kimura v. FAA, 5:21-cv-1597-PA-
AGR.) Plaintiff has failed to dismiss either, instead insisting that both actions are necessary.
Despite Plaintiff’s continued misconduct, the Court has considered all of Plaintiff’s arguments in
reaching a resolution on the merits.

       Plaintiff’s arguments to the United States’ Motion fall into three categories: first, that
Plaintiff is not asserting a claim falling under the FTCA; second, that the United States did have
timely notice of Plaintiff’s claim; and third, that any untimeliness should be excused because
Plaintiff lived outside the country since 2016. However, several of Plaintiff’s claims clearly fall
within the FTCA’s limited waiver of sovereign immunity, and while Plaintiff did not specifically
bring suit thereunder, the FTCA provides the exclusive remedy for Plaintiff’s tort claims.3/ As
the FTCA requires Plaintiff to name the United States as defendant, rather than the FAA or
Officer Defendants, Plaintiff’s tort claims against the FAA and Officer Defendants are properly
dismissed for lack of jurisdiction. See 28 U.S.C. §§ 2679(a) & (b)(1); F.D.I.C. v. Craft, 157
F.3d 697, 706 (9th Cir. 1998) (“The FTCA is the exclusive remedy for tortious conduct by the
United States, and it only allows claims against the United States.”).

        Plaintiff’s tort claims are also properly dismissed for failing to satisfy the presentment
requirement of the FTCA. “Under the FTCA, a tort claim against the United States is barred
unless it is presented in writing to the appropriate federal agency within two years after such
claim accrues. A claim accrues when a plaintiff knows that he has been injured and who has
inflicted the injury.” Winter v. United States, 244 F. 3d 1088, 1090 (9th Cir. 2001) (internal
citation and quotation omitted). “To satisfy the presentation requirement, a plaintiff ‘need only
file a brief notice or statement with the relevant federal agency containing a general description
of the time, place, cause and general nature of the injury and the compensation demanded.’”
Gault v. United States, No. CV 20-10687 PA (PVC), 2021 WL 4507489, at *6 (C.D. Cal. Sept.
9, 2021) (quoting Goodman v. United States, 298 F.3d 1048, 1055 (9th Cir. 2002)); see also 28


3/
        Several of those tort claims fail as a matter of law, because there is no waiver of sovereign
immunity under the FTCA for “[a]ny claim arising out of assault, battery, false imprisonment, false
arrest, malicious prosecution, abuse of process, libel, slander, misrepresentation, deceit, or interference
with contract rights.” 28 U.S.C. § 2680(h).
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                    Page 3 of 5
  Case 2:21-cv-06899-PA-AGR Document 61 Filed 03/26/22 Page 4 of 5 Page ID #:915

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES - GENERAL
 Case No.       ED CV 21-1597 PA (AGRx); LA CV 21-6899 PA (AGRx)          Date   March 26, 2022
 Title          Hideyuki Kimura v. Federal Aviation Administration; Hideyuki Kimura v. Lisa Toscano,
                et al.

C.F.R. § 14.2(a) (“[A] claim shall be deemed to have been presented when a Federal agency
receives from a claimant . . . an executed Standard Form 95 or other written notification[.]”).

        Here, Plaintiff failed to timely notify the FAA. Plaintiff’s claims accrued on April 11,
2017, when the FAA deprived Plaintiff of his commercial pilot’s certificate. Plaintiff admits
that he sent his SF-95 at the end of 2020, more than two years after his claims accrued. Plaintiff
argues that his untimely SF-95 was not the first notice given to the FAA, as he sent thousands of
emails and several letters contesting the FAA’s suspension of his certificate. (See Docket No.
47 at 11, Kimura v. FAA, 5:21-cv-1597-PA-AGR (“The plaintiff sent a letter to DOT Inspector
General on March 18, 2020 because FAA ignoered [sic] every NOTICE. The plaintiff sent
letters to DOJ IG, FBI, and Chino’s local police too.”).) However, Plaintiff’s repeated attempts
to challenge his suspension do not equate to presentment of his claims. See Avery v. United
States, 680 F.2d 608, 610 (9th Cir. 1982) (“A claim is presented properly to an agency within the
meaning of 28 U.S.C. § 2675(a) when the agency is given sufficient written notice to commence
investigation, and the claimant places a value on the claim.”).

        Plaintiff also argues that his presence abroad since 2016 prevents his claims from being
untimely. Equitable tolling is available for FTCA claims so long as a plaintiff has been pursuing
his rights diligently and some extraordinary circumstance prevented timely filing. See United
States v. Kwai Fun Wong, 575 U.S. 402, 420, 135 S. Ct. 1625, 1638, 191 L. Ed. 2d 533 (2015);
Menominee Indian Tribe of Wisconsin v. United States, 577 U.S. 250, 255, 136 S. Ct. 750, 755,
193 L. Ed. 2d 652 (2016). Plaintiff fails to establish any extraordinary circumstances that
prevented diligent prosecution, and his flurry of filings in these actions highlights the argument’s
weakness. See Fahmy v. Jay-Z, 835 F. Supp. 2d 783, 791 (C.D. Cal. 2011) (“[T]he mere fact
that plaintiff lived in Egypt and speaks little to no English does not toll the statutory period.”).

        In addition to the grounds for dismissal set forth in the United States’ Motion, the Court
also finds that dismissal is appropriate under Federal Rule of Civil Procedure 12(b)(6) for failure
to state a claim upon which relief can be granted. See Omar v. Sea-Land Serv., Inc., 813 F.2d
986, 991 (9th Cir. 1987) (“A trial court may dismiss a claim sua sponte under Fed. R. Civ. P.
12(b)(6)” and “without notice where the claimant cannot possibly win relief.”). Generally,
plaintiffs in federal court are required to give only “a short and plain statement of the claim
showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a). While the Federal Rules
allow a court to dismiss a cause of action for “failure to state a claim upon which relief can be
granted,” they also require all pleadings to be “construed so as to do justice.” Fed. R. Civ. P.
12(b)(6), 8(e). Pleadings are assessed under a “plausibility standard,” in which the complaint
must “raise a reasonable expectation that discovery will reveal evidence of [the alleged


CV-90 (06/04)                             CIVIL MINUTES - GENERAL                              Page 4 of 5
  Case 2:21-cv-06899-PA-AGR Document 61 Filed 03/26/22 Page 5 of 5 Page ID #:916

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES - GENERAL
 Case No.       ED CV 21-1597 PA (AGRx); LA CV 21-6899 PA (AGRx)          Date   March 26, 2022
 Title          Hideyuki Kimura v. Federal Aviation Administration; Hideyuki Kimura v. Lisa Toscano,
                et al.

infraction].” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556, 127 S. Ct. 1955, 1965, 167 L.
Ed. 2d 929 (2007).

        Here, Plaintiff’s fantastical allegations, including damages in excess of $4.5 billion, FAA
officials’ false reports, evidence tampering, criminal acts, and conspiracy in retaliation for
Plaintiff’s book, as well as wholly unfounded claims of discrimination, fail to state plausible
claims for relief and are patently frivolous, lacking any arguable basis in fact or law. See
Neitzke v. Williams, 490 U.S. 319, 325, 109 S. Ct. 1827, 104 L. Ed. 2d 338 (1989). Plaintiff’s
multiple oppositions showcase this point, as Plaintiff repeatedly argues that he seeks to enforce
criminal statutes. (See Docket No. 47 at 2-3, 7-8, 12-13, Kimura v. FAA, 5:21-cv-1597-PA-
AGR (“This crime continues to today without a break. It is willfully crime act that FAA did not
answer any inquiries repeated for such a long time. . . . The Plaintiff have opened civil lawsuits
for damage caused by crime rather than Tort.”); Docket No. 54 at 7, Kimura v. FAA, 5:21-cv-
1597-PA-AGR (“The plaintiff used the recommendation FORM by the lawyer for NOTICE, but
did not claim a single TORT in the complaint. The plaintiff claims to be illegal for crime.”).)
However, “[c]riminal statutes can be enforced only by the proper authorities of the United States
government, such as United States attorneys.” Jones v. Goldburn, No. CV 20-8204 PA (ASx),
2020 WL 7089956, at *2 (C.D. Cal. Oct. 31, 2020) (quoting Martinez v. Ensor, 958 F. Supp.
515, 518 (D. Colo. 1997)). Therefore, the Court finds that dismissal of Plaintiff’s claims is also
appropriate under Rule 12(b)(6).

       Based on the allegations contained in Plaintiff’s Complaint, Plaintiff cannot amend his
allegations to satisfy the requirements of the FTCA or to allege a claim that satisfies the
Twombly pleading standard. The Court therefore concludes that amendment would be futile.
See Flowers v. First Hawaiian Bank, 295 F.3d 966 (9th Cir. 2002) (“A pro se litigant must be
given leave to amend his or her complaint unless it is obviously clear that the deficiencies in the
complaint could not be cured by amendment . . . . A district court . . . does not abuse its
discretion in denying leave to amend where amendment would be futile.”).

       For all the foregoing reasons, the Court grants the United States’ Motion and dismisses
Plaintiff’s claims without leave to amend. The United States’ alternative request for summary
judgment is denied as moot. In light of this Order, all outstanding applications and requests are
moot and hereby denied. The Court will issue a Judgment in both actions consistent with this
Order.

         IT IS SO ORDERED.



CV-90 (06/04)                             CIVIL MINUTES - GENERAL                              Page 5 of 5
